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                                            U.S. Department of Justice


                                            United States Attorney
                                            District of New Jersey

                                            970 Broad Street, Suite 700   (973) 645-2700
                                            Newark, NJ 07102



                                            December 18, 2020

Dennis C. Carletta, Esq.
O'Toole Scrivo, LLC
14 Village Park Road
Cedar Grove, New Jersey 07009

           Re: Plea Agreement with Raymond Catania
                 Criminal No. 21-197-01 (MAS)
Dear Mr. Carletta:

       This letter sets forth the plea agreement between your client, Raymond
Catania, and the United States Attorney for the District of New Jersey ("this
Office"). The Government's offer to enter into this plea agreement will expire on
January 7, 2021, if it is not accepted in writing by that date.

Charge

      Conditioned on the understandings specified below, this Office will
accept a guilty plea from Raymond Catania to an Information that charges him
with knowingly and intentionally distributing oxycodone, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections
841(a)(l) and 841(b)(l)(C).

       If Raymond Catania enters a guilty plea and is sentenced on this charge,
and otherwise fully complies with all of the terms of this agreement, this Office
will not initiate any further criminal charges against Raymond Catania for the
unlawful distribution of oxycodone to individuals R.L. and M.L., provided that
Raymond Catania's unlawful distribution of oxycodone to R.L. and M.L. from
January 2016 through March 2017 is taken into account as relevant conduct
by the Court at the time of sentencing pursuant to U.S.S.G. §§ 1B1.2(c) and
1B1.3(a). However, in the event that a guilty plea in this matter is not entered
for any reason or the judgment of conviction entered as a result of this guilty
plea does not remain in full force and effect, Raymond Catania agrees that any
dismissed charges and any other charges that are not time-barred by the
applicable statute of limitations on the date this agreement is signed by
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